




02-12-542 &amp; 543-CR








&nbsp;









 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00543-CR

&nbsp;

&nbsp;


 
  
  Kasey
  Marilyn Green
  &nbsp;
  &nbsp;
  &nbsp;
  v.
  &nbsp;
  &nbsp;
  &nbsp;
  The
  State of Texas
  
  
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  &nbsp;
  §
  
  
  From County Criminal
  Court No. 2
  &nbsp;
  of
  Tarrant County (1273119)
  &nbsp;
  January
  24, 2013
  &nbsp;
  Per
  Curiam
  &nbsp;
  (nfp)
  
 


&nbsp;

JUDGMENT

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
court has considered the record on appeal in this case and holds that the
appeal should be dismissed.&nbsp; It is ordered that the appeal is dismissed.

&nbsp;

&nbsp;

SECOND DISTRICT COURT OF APPEALS 

&nbsp;

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

&nbsp;

&nbsp;

&nbsp;


 
  
  
   
    
    
    
    
    
   
  
  
  
  COURT OF APPEALS
  SECOND DISTRICT OF TEXAS
  FORT WORTH
  &nbsp;
  
 


&nbsp;

&nbsp;

NO. 02-12-00542-CR

NO. 02-12-00543-CR

&nbsp;

&nbsp;


 
  
  Kasey Marilyn Green
  
  
  &nbsp;
  
  
  APPELLANT
  
 
 
  
  &nbsp;
  V.
  &nbsp;
  
 
 
  
  The State of Texas
  
  
  &nbsp;
  
  
  STATE
  
 


&nbsp;

&nbsp;

----------

FROM County
Criminal Court No. 2 OF TARRANT COUNTY

----------

MEMORANDUM
OPINION[1]

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant
Kasey Marilyn Green attempts to appeal from her convictions for DWI.&nbsp; The trial
court’s certifications state that “the defendant has waived the right of
appeal.”&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; On November&nbsp;15, 2012, we
notified Green that these appeals would be dismissed pursuant to the trial
court’s certifications unless she or any party desiring to continue the appeals
filed a response on or before November 26, 2012, showing grounds for continuing
them.&nbsp; See Tex. R. App. P. 25.2(d), 44.3.&nbsp; We have not received a
response.&nbsp; Therefore, in accordance with the trial court’s certifications, we
dismiss these appeals.&nbsp; See Tex. R. App. P. 43.2(f).

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

PANEL:&nbsp;
MEIER,
J.; LIVINGSTON, C.J.; and GABRIEL, J.

&nbsp;

DO
NOT PUBLISH

Tex.
R. App. P. 47.2(b)

&nbsp;

DELIVERED:&nbsp; January 24, 2013









[1]See Tex. R. App. P. 47.4.







